
USCA1 Opinion

	










          February 7, 1996
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                        
                                 ____________________


        No. 95-1659 

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                   DOMINGO PEGUERO,

                                Defendant, Appellant.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND


                    [Hon. Ronald R. Lagueux, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                 Selya, Cyr and Lynch,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            Kara M. Fay on brief for appellant.
            ___________
            Sheldon Whitehouse, United States Attorney, and Zechariah  Chafee,
            __________________                              _________________
        Assistant United States Attorney, on brief for appellee.


                                 ____________________


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                      Per  Curiam.   Defendant-Appellant  Domingo Peguero
                      ___________

            pleaded  guilty to  three counts  of distribution  of cocaine

            base.   He was sentenced to  a prison term of  108 months, at

            the low end of the applicable guideline sentencing range.  He

            appeals from that sentence.  We affirm.

                            I. Unconstitutional Vagueness
                               __________________________

                 Peguero's first  argument is that the  relevant statutes

            and sections  of the United States  Sentencing Guidelines are

            unconstitutionally   vague  because   of  their   failure  to

            adequately define  "cocaine base."   As Peguero  concedes, we

            rejected  this argument in United States v. Barnes, 8909 F.2d
                                       _____________    ______

            545, 552 (1st Cir. 1989), cert. denied, 494 U.S. 1019 (1990).
                                      ____________

            The argument has  also been rejected  by every other  federal

            circuit  court that  has considered  it.   See, e.g.,  United
                                                       ___  ____   ______

            States  v. Jones, 979 F.2d 317, 319-20 (3d Cir. 1992); United
            ______     _____                                       ______

            States  v.  Jackson, 968  F.2d  158, 161-64  (2d  Cir. 1992);
            ______      _______

            United  States  v.  Thomas,  932 F.2d  1085,  1090  (5th Cir.
            ______________      ______

            1991).1
                  1

                 Peguero   suggests   that  the   investigation   by  the

            Sentencing   Guidelines   Commission   into  the   "disparate

            treatment and arbitrary enforcement  the statute has fostered

                                
            ____________________

               1  To the  extent  that  Peguero's  argument is  meant  to
               1
            challenge the distinction between cocaine  powder and cocaine
            base   as   an   irrational   and   racially   discriminatory
            classification (in violation of the equal protection clause),
            those arguments  have also been  rejected by this  court. See
                                                                      ___
            United States v.  Singleterry, 29 F.3d 733, 740-41  (1st Cir.
            _____________     ___________
            1994). 

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            . .  . warrants [this  court] to reconsider  the issue."   We

            reviewed the recent legislative  developments in this area in

            United States v.  Camilo, No.  95-1565, slip op.  at 14  (1st
            _____________     ______

            Cir.  Dec.  18, 1995)  (rejecting  appellant's argument  that

            ambiguity  in  the  Guideline's  distinction  between cocaine

            powder and cocaine base entitled him to a  downward departure

            pursuant  to U.S.S.G.    5K2.0).  None of  these developments

            persuade  us that  it is  necessary to  revisit the  issue of

            unconstitutional vagueness.

                                II. Failure to Depart
                                    _________________

                 Peguero's second  argument is  that  the district  court

            erred  in failing  to  grant a  downward  departure from  the

            relevant guideline  sentencing range pursuant to  18 U.S.C.  

            3553(b) and U.S.S.G.    5K2.0.  The sentencing court  did not

            directly respond to Peguero's oblique  requests for departure

            based  upon the  following factors:  his drug  addiction, the

            disparity  between sentences  for  cocaine base  and  cocaine

            powder, family  ties and employment record.  We are persuaded

            that the district  court's failure to  depart did not  result

            from an erroneous belief  that it lacked the authority  to do

            so.

                 The  first two  factors  are not  permissible bases  for

            departure.   See United States  v. Rivera, 994  F.2d 942, 949
                         ___ _____________     ______

            (1st  Cir. 1993)("drug or alcohol dependence or abuse  is not

            a  reason for imposing a  sentence below the guidelines") and



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            United  States  v. Haynes,  985 F.2d  65,  70 (2d  Cir. 1993)
            ______________     ______

            (holding  that "a downward departure may not be predicated on

            the fact  that penalties  for cocaine  crack are  more severe

            than those involving cocaine.")   The facts and circumstances

            relating to Peguero's family  ties and employment record were

            not  sufficiently unusual  to  take the  case outside  of the

            heartland.  See Rivera, 994 F.2d at 953 (noting that even  if
                        ___ ______

            court  misapprehended its  authority to  depart, resentencing

            should not be ordered if there is "no significant possibility

            that the  facts and  circumstances would permit  the district

            court lawfully to order a departure").

                       III. Evidence from Co-Defendant's Trial
                            __________________________________

                 Peguero's  third   argument  on   appeal  is   that  the

            sentencing  court  "impermissibly  referenced  and   in  fact

            utilized evidence of  Appellant's alleged leadership role  in

            the charged offenses which were brought out in the trial of a

            co-defendant [Marcelino Enrique Adames-Santos] in an entirely

            separate proceeding."  Peguero, relying upon United States v.
                                                         _____________

            Berzon, 941 F.2d  8, 17  (1st Cir. 1991),  requests that  the
            ______

            sentence be  vacated and  his case remanded  for resentencing

            "without consideration  of evidence  obtained in  the Adames-

            Santos trial."

                 Peguero  made no  objection at  the time  of sentencing,

            when the court referred to the conclusions it had drawn based

            on  the evidence  at co-defendant's  trial.   If  Peguero was



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            concerned that the information would  influence his sentence,

            he ought to have requested a copy of the trial transcript and

            sought a  continuance of  his sentencing  hearing so  that he

            could   prepare  a  rebuttal  to  the  information  contained

            therein.   "Having failed  to raise these  contentions before

            the sentencing court, they   may not be raised for  the first

            time  on appeal." United States  v. Jackson, 3  F.3d 506, 511
                              _____________     _______

            (1st Cir.  1993).  In any event, it is clear that Peguero was

            not  prejudiced.     The  court  did  not  impose  an  upward

            adjustment for a leadership role (despite its conclusion that

            Peguero was a  leader) and  it sentenced him  to the  minimum

            guideline sentence.  As Peguero has identified no permissible

            basis  for a downward departure, he was not prejudiced by the

            sentencing judge's knowledge of  the evidence received at the

            co-defendant's trial.

                            IV. References to Deportation
                                _________________________

                 Peguero's   final  argument  that   the  district  court

            "attempted  to  usurp  powers  held by  the  Immigration  and

            Naturalization Service"  by including an order of deportation

            in his sentence,  is belied  by the record.   The  sentencing

            transcript reveals  that the district court  included a clear

            statement  of  the relevant  deportation  procedures  as they

            applied to Peguero.  Therefore, there was no error.

                 Peguero's sentence is affirmed. See Loc. R. 27.1.
                                       ________  ___





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